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                   EXHIBIT 1
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                          DECLARATION OF KRISTEN OAKLEY
         1.     My name is Kristen Oakley. I am over 18 years old and competent to give this
 declaration nnder penalty of perjury. All facts herein are within my personal knowledge and are
 tlue and correct.

        2.      On August 17, 2017, I was walldng through my office lobby when I saw a man
 standing outside the locked glass doors who looked like he was waiting to get inside. I opened the
 door and he asked "Is this Independent Ttuckers Group?" or words to that effect. I said they were
 in the building. He handed me the papers attached hereto as Exhibit A, which was a lawsuit
 summons. He asked my name and I gave it as "Kristen Oakley." He then left. He did not identify
 himself.

         3.     I have reviewed the return of service attached hereto as Exhibit B. Contrary to the
 retum of service, I am not a "Vice President" at Independent Truckers Group ("ITG") and I did
 not identifY myself as such or state any other position. I am not and have never been an employee
 ofiTG, an officer ofiTG, an authorized agent for service on behalf ofiTG for any purpose, or an
 authorized representative of ITG for any purpose.
        Pursuant to 28 U.S.C.1746, 1 declare under penalty ofperjury that the foregoing is true
 and correct. Executed on September 26, 2017:    ~ ~ ·

                                                 DECLARANT KRISTEN OAKLEY
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                  EXHIBIT A
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                           IN THE UNITED STATES DISTRICT COURT FOR
                                THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION
                                           CASE NO.

  JOHN NORTHRUP, Individually and on behalf
  of a Class of Similarly Situated Individuals,

        Plaintiff,

  vs.

  lTG INSURANCE AGENCY LLC,
  INDEPENDENT TRUCKERS GROUP, AND
  HALLMARK FINANCIAL SERVICES, INC.

             Defendants.
  ------------------------~/
                                     CLASS ACTION COMPLAINT

             Plaintiff John Northrup, on behalf of himself and all others similarly situated, alleges and

  avers as follows:

                                            INTRODUCTION

             I.      Plaintiff brings this Class Action Complaint for damages, injunctive relief, and

  any other available legal or equitable remedies, resulting from the illegal actions of ITG

  Insurance Agency LLC, Independent Truckers Group, and Hallmark Financial Services, Inc.

  ("Defendants"), in negligently, and/or willfully contacting Plaintiff through SMS or "text"

  messages on Plaintiffs cellular telephone, in violation of the Telephone Consumer Protection

  Act, 47 U.S.C. § 227 et seq., ("TCPA"), thereby invading Plaintiffs privacy. Plaintiff alleges as

  follows upon personal knowledge as to his own acts and experiences, and, as to all other matters,

  upon information and belief, including investigation conducted by his attorneys.
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                                              PARTIES

          2.      Plaintiff John Northrup is an individual who resides in Hillsborough County,

  Florida.

           3.     Defendant ITG Insurance Agency LLC, is a Texas limited liability company, with

  principal address at 6713 Mossberg, Plano, TX 75023. It may be served through its registered

  agent for service, Teresa Gilbert at 6713 Mossberg, Plano, TX 75023.

           4.     Defendant, Independent Truckers Group is a company with headqumters at 15280

  Addison Road, Suite 250, Addison, Texas 75001. It may be served at that address.

           5.     Defendant Hallmark Financial Services, Inc., is a Texas corporation, with

  principal place of business at 777 Main St., Suite 1000, Fott Worth, TX, 76102. It also conducts

  business at 15280 Addison Road, Suite 250, Addison, Texas 75001. Its registered agent for

  service is Mark E. Schwartz, 777 Main St., Suite 1000, Fort Wotth, TX, 76102. Hallmark owns

  and operates multiple companies out of the Addison Road address, including Independent

  Truckers Group and other companies that sell insurance and other services, targeting particular

   industries.

           6.     Defendants are jointly and severally liable for the acts alleged herein because they

  work together out of the Addison Road headquatters to market to truckers like Plaintiff by

   sending unsolicited text messages in violation of federal law.

                                   JURISDICTION AND VENUE

             7.   This Coutt has jurisdiction over this action and all the Defendants pursuant to 28

   U.S.C. § 1331 in that this action arises under a United States federal statute, specifically the

   Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., ("TCPA"). The TCPA specifically




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  authorizes this Court to exercise jurisdiction.

          8.     Jurisdiction is also proper under 28 U.S.C. § 1332(a) because the matter in

  controversy exceeds $75,000 and is between citizens of different states. Jurisdiction is also

  proper under 28 U.S.C. § 1332(d)(2) because Plaintiff seeks up to $1,500 in damages for each

  text message in violation of the TCP A, which, when aggregated among a proposed class number

  of more than five thousand, exceeds the $5,000,000 threshold for federal comt jurisdiction.

  Fmther, Plaintiff alleges a national class, which will result in at least one class member

  belonging to a different state than that of Defendants, providing jurisdiction under 28 U.S.C.

  Section 1332(d)(2)(A). Therefore, both elements of diversity jurisdiction under the Class Action

  Fairness Act of 2005 ("CAFA") are present, and this Comt has jurisdiction.

          9.     Venue is proper in this District pursuant to 28 U.S.C. § 139l(b)(l) and/or (b)(2)

  because a substantial part of the events or omissions giving rise to this claim occurred in this

  Dish·ict, in that the text message at issue was sent to a mobile phone number registered in this

  District.

                                    GENERAL ALLEGATIONS

          I 0.   Defendants operate under the names "Independent Truckers Group," "ITG

  Trucking," and "lTG Insurance Agency." They market insurance and other services to trucking

  companies throughout the country from their headquarters in Addison, Texas. They operate the

  website www.itgtrucking.com.

          II.    Defendants made the deliberate decision to engage in bulk marketing by sending

  truckers, including the Plaintiff, advertisements through Short Message Services. The term

  "Shmt Message Service" or "SMS" is a messaging system that allows cellular telephone




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  subscribers to use their cellular telephones to send and receive short text messages.

           12.    An "SMS message" is a text message directed to a wireless device through the use

  of the telephone number assigned to the device. For purposes of the Telephone Consumer

  Protection Act, 47 U.S.C. § 227 et seq., ("TCPA"), a text message is considered to be a call. See

  Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CO

   Docket No. 02-278, Report and Order, 18 FCC Red 14014, 14115, 'If 165 (2003) ("2003 TCPA

  Order").

           13.     When an SMS or "text" message call is successfully made, the recipient's cell

  phone rings or othetwise notifies the recipient of the text message that a text message is being

  received.

           14.     As cellular telephones are inherently mobile and are carried by their owners at all

  times, text messages are received by the called party vitiually anywhere.

           15.     Unlike standard advertising methods, bulk advertising by use of text messages

   cost recipients money, because cell phone users typically pay for the text messages they receive,

   either individually, or in bulk.

           16.     Over the course of an extended period beginning no later than in 2015,

   Defendants and their agents directed the mass transmission of text messages to the cell phones of

  persons they hoped were potential customers of Defendants' services.

           17.     On June 30,2017, at 2:40pm Eastern time, Plaintiff received an unsolicited SMS

   or "text" message to his wireless phone in Florida. The text was sent to his wireless phone

   number with area code 813 (the area code for Tampa, Florida and surrounding areas). It stated:

           Hate the high price of Obama Care? Call for a free $250 rewards card and free health care
           quote. TRUCKER plans start less than $59 a month. 214-396-6822



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         18.     Although Defendants are located in Texas. They sent the text message from an

  automatic texting service that uses a phone number with area code 208, which is in Idaho.

  Plaintiff called the phone number listed in the text message and spoke to a representative of

  Defendants, Donna Morgan, who said she was calling on behalf of Independent Truckers Group,

  the largest independent truckers group in America. Plaintiff asked the representative how

  Defendants' obtained his phone number and the representative immediately terminated the call.

  Accordingly, it appears that Defendants know that their text message campaign is illegal.

         19.     Plaintiff provided no consent to receive this text message, which was sent by

  Defendants in an effort to promote the sale of their health insurance plans to truck drivers.

         20.     The unsolicited text messages placed to Plaintiff's cellular telephone was placed

  via an "automatic telephone dialing system," ("ATDS") as defined by 47 U.S.C. § 227 (a)(l).

         21.     "The term 'unsolicited advertisement' means any material advertising the

  commercial availability or quality of any property, goods, or services which is transmitted to any

  person without that person's prior express invitation or permission, in writing or otherwise." 47

  U.S.C. § 227 (a)(5).

         22.     "The term 'telephone solicitation' means the initiation of a ... message for the

  purpose of encouraging the purchase ... of ... services, which is transmitted to any person, but

  such term does not include a call or message (A) to any person with that person's prior express

   invitation or permission, (B) to any person with whom the caller has an established business

  relationship, or (C) by a tax exempt nonprofit organization." 47 U.S.C. § 227 (a)(4).

          23.    The telephone numbers that the Defendants, or their agents, sent the text messages

  to were assigned to cellular telephone services pursuant to 47 U.S.C. § 227(b)(1)(A)(iii).




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         24.     These telephone text messages constituted "calls" under the TCPA that were not

  for emergency purposes as defined by 47 U.S.C. § 227 (b)(l)(A)(i) and applicable regulations

  which make clear that texts are included within the TCPA.

         25.     Plaintiff did not provide Defendants or their agents prior express consent to

  receive unsolicited text messages pursuant to 47 U.S.C. § 227 (b)(l)(B).

         26.     The text message by Defendants or their agents therefore violated 47 U.S.C. §

  227(b)(l).

         27.     Plaintiff, John Northrup, has standing to bring these claims because Defendants'

  violation of the TCPA resulted in a concrete and particularized injury to him, in the form of

  invasion of privacy, an unwanted and unauthorized text message received by his cell phone,

  which caused wasted time addressing an unwanted text message, unwarranted distraction from

  his work activities (including driving large trucks, and loading and unloading products),

  aggravation and distress, unavailability of his cell phone when it was receiving the unauthorized

  text message, depletion of his cell phone's battery and the resulting cost to recharge the phone,

  and potential financial loss in the form of increased charges from his cell phone carrier.

                                 CLASS ACTION ALLEGATIONS

         28.     Plaintiff brings this action on behalf of himself and on behalf of all others

  similarly situated ("the Class").

         29.     Plaintiff represents, and is a member of the Class, consisting of: all persons within

  the United States who received an unsolicited SMS or text message from a Defendant, or an

  agent of a Defendant, on a paging service, cellular phone service, or other service, through the

  use of any automatic telephone dialing system as set forth in 47 U.S.C. Section 227(B)(l)(A)(3)




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   or attificial or prerecorded voice, which SMS or text messages by a Defendant (or agent of a

   Defendant) was not made for emergency purposes or with the recipients' prior express consent,

   within the four years prior to the filing of this Complaint.

              30.    Defendants and their employees or agents are excluded from the Class.

              31.   Plaintiff does not know the number of members in the Class, but believes the

   Class members number in the thousands, if not more. Thus, this matter should be cettified as a

   Class action to assist in the expeditious litigation of this matter.

              32.    Plaintiff and members of the Class were harmed by the acts of Defendants in at

   least the patticularized and concrete ways set fmth above.

              33.    This suit seeks only statutory damages and injunctive relief on behalf ofthe Class,

   and it expressly is not intended to request any recovery for personal injury and claims related

   thereto.

              34.    The joinder of the Class members is impractical and the disposition of their

   claims in the Class action will provide substantial benefits both to the parties and to the court.

              35.    The Class can be identified through Defendants' records or Defendants' agents'

   records.

              36.    There is a well-defined community of interest in the questions of law and fact

   involved affecting the parties to be represented.

              37.    The questions of law and fact to the Class predominate over questions which may

   affect individual Class members, including the following:

              a.     Whether, within the four years prior to the filing of this Complaint, Defendants or

              their agents placed cellular telephone SMS or text messages for purposes of soliciting




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          new customers without the recipients' prior express consent;

          b.      What systems and methodologies were used to collect the cell phone numbers,

          and send the text messages at issue in this case;

          c.      Whether the systems used to place the cellular telephone SMS or text messages

          constituted automatic telephone dialing systems under the TCPA;

          d.      Whether either Defendant's violation of the TCPA was willful or knowing, such

          that the award should be increased up to three times pursuant to 47 USC §227(b)(3)(c);

          and

          e.      Whether Defendants and their agents should be enjoined from engaging in such

          conduct in the future.

           38.    As a person who received at least one unsolicited telephone SMS or text message

   without his prior express consent, Plaintiff is assetting claims that are typical of the Class.

           39.    Plaintiff will fairly and adequately represent and protect the interests of the Class

   in that Plaintiff has no interests antagonistic to any member of the Class.

          40.     Plaintiff and the members of the Class have all suffered irreparable harm as a

   result of the Defendants' unlawful and wrongful conduct.

           41.    Absent a class action, the Class will continue to face the potential for irreparable

   harm. In addition, these violations of law will be allowed to proceed without remedy and

   Defendants will likely continue such illegal conduct.

           42.     Because of the size of the individual Class member's claims, few, if any, Class

   members could not afford to individually seek legal redress for the wrongs complained of herein.

           43.    Plaintiff has retained counsel experienced in handling class action claims of this




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   nature.

             44.   A class action is a superior method for the fair and efficient adjudication of this

   controversy.

             45.   Class-wide damages are essential to induce Defendants to comply with federal

   law.

             46.   The interest of Class members in individually controlling the prosecution of

   separate claims against Defendants is small because the maximum statutory damages in an

   individual action for violation of the TCPA are minimal. Management of these claims is likely to

   present significantly fewer difficulties than those presented in many individual claims.

             47.   Defendants have acted on grounds generally applicable to the Class, thereby

   making appropriate final injunctive relief and corresponding declaratory relief with respect to the

   Class as a whole.

             48.   The members of the Class are capable of being readily ascettained from the

   information and records in the possession or control of Defendants.

             49.   The Class members are so numerous that individual joinder of all members is

   impractical.

             50.   Plaintiff's claims are typical of those of the Class and are based on the same legal

   and factual theories.

             51.   Plaintiff and his counsel will fairly and adequately represent and protect the

   interests of the Class. Plaintiff has been subject to the same unlawful acts as the rest of the Class

   members and is ready, willing and able to serve as a Class representative. Moreover, Plaintiff's

   counsel are experienced in handling complex litigation, and have extensive class action




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   expenence and a long track record of successful prosecution of class action cases. Neither

   Plaintiff nor his counsel has any interest that might cause them not to vigorously pursue this

   action.

             52.   Certification of a Class under Fed. R. Civ. P. 23(b)(3) is appropriate in that

   Plaintiff and the Class members seek liquidated statutory monetary damages, common questions

   predominate over any individual questions, and a class action is superior for the fair and efficient

   adjudication of this controversy. A class action will cause an orderly and expeditious

   administration of the Class members' claims and economies of time, effort and expense will be

   fostered and uniformity of decisions will be ensured. Moreover, the individual Class members

   are unlikely to be aware of their rights and not in a position (either through experience or

   financially) to commence individual litigation against Defendants.

             53.   Alternatively, certification of a class is appropriate under Fed. R. Civ. P. 23(b )(1),

   in that inconsistent or varying adjudications with respect to individual members of the Class

   would establish incompatible standards of conduct for Defendants or adjudications with respect

   to individual members of the Class as a practical matter would be dispositive of the interests of

   the other members not patiies to the adjudications or would substantially impair or impede their

   ability to protect their interests.

             54.   Alternatively, ce1iification of a class is appropriate under Fed. R. Civ. P. 23(b)(2)

   because the parties opposing the Class have acted or refused to act on grounds generally

   applicable to the Class, thereby making final injunctive relief appropriate respecting the Class as

   a whole.




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                          FIRST CAUSE OF ACTION
                       NEGLIGENT VIOLATIONS OF THE
           TELEPHONE CONSUMER PROTECTION ACT 47 U.S. C. § 227 ET SEQ

          55.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

   as though fully stated herein.

          56.     Each such text message call was made using equipment that, upon information

   and belief, had the capacity to store or produce telephone numbers to be called, using a random

   or sequential number generator, or a system that otherwise qualified as an automatic telephone

   dialing system under the TCPA. By using such equipment, Defendants were able to effectively

   send thousands of text messages simultaneously to lists of thousands of wireless phone numbers

   of consumers without human intervention. These text messages were sent without the prior

   express consent of the Plaintiff and the other members of the Class to receive such text

   messages.

          57.     The foregoing acts and om1sswns of Defendants and their agents constitute

   numerous and multiple negligent violations of the TCPA, including but not limited to each and

   every one of the above-cited provisions of 47 U.S.C. § 227 et seq. As a result of Defendants',

   and Defendants' agents', negligent violations of 47 U.S.C. § 227 et seq., Plaintiff and the Class

   are entitled to an award of $500.00 each in statutory damages, for each and every violation,

   pursuant to 47 U.S.C. § 227(b)(3)(B). Plaintiff and the Class are also entitled to and seek

   injunctive relief prohibiting such conduct in the future.




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          WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the Class

   members the following relief against Defendants:

                a. As a result of Defendants,' and Defendants' agents,' negligent violations of 47

                   U.S.C. § 227(b )(1), Plaintiff seeks for himself and each Class member $500.00 in

                   statutory damages, per violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

                b. Pursuant to 47 U.S.C. § 227(b )(3)(A), Plaintiff seeks injunctive relief prohibiting

                   such conduct in the future.

                c. As a result of Defendants,' and Defendants' agents,' willful and/or knowing

                   violations of 47 U.S.C. § 227(b)(l), Plaintiff seeks for himself and each Class

                   member increased damages, as provided by statute, up to $1,500.00 per violation,

                   pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                d. Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such conduct

                   in the future.

                e. Any other relief the Court may deem just and proper.

                         SECOND CAUSE OF ACTION
                 KNOWING AND/OR WILLFUL VIOLATIONS OF THE
           TELEPHONE CONSUMER PROTECTION ACT 47 U.S.C. § 227 ET SEQ.

          58.      Plaintiff incorporates by reference all of the above paragraphs 1-55 of this

   Complaint as though fully stated herein.

          59.      Upon information and belief, Defendants violations of the TCPA were willful

   and/or knowing. Accordingly, Plaintiff and the Class are entitled to have their awards increased

   to an amount not more than three times the $500 liquidated damages amount, or $1,500.00 per

   violation, pursuant to 47 U.S.C. § 227(b)(3)(B and C).




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          WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the Class

   members the following relief against Defendants: As a result of Defendants', and Defendants'

   agents', willful violations of 47 U.S.C. § 227(b)(l), Plaintiff seeks for himself and each Class

   member $1,500.00 in statutory damages, per violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

              a. Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks injunctive relief prohibiting

                 such conduct in the future.

              b. As a result of Defendants,' and Defendants' agents,' willful and/or knowing

                 violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for himself and each Class

                 member increased damages, as provided by statute, up to $1,500.00 per violation,

                 pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

              c. Pursuant to 47 U.S. C. § 227(b)(3)(A), injunctive relief prohibiting such conduct

                 in the future.

              d. Reasonable and necessary attorneys' fees and expenses.

              e. Any other relief the Court may deem just and proper.

                                           JURY DEMAND

          Plaintiff hereby demands a trial by jury on all issues so triable.


   Dated: August 8, 2017                         Respectfully submitted,

                                                 Is/ Seth M Lehrman
                                                 Seth M. Lehrman (Fla. Bar No. 132896)
                                                 E-mail: seth@pathtojsutice.com
                                                 FARMER, JAFFE, WE!SSING,
                                                 EDWARDS FISTOS & LEHRMAN, P .L.
                                                 425 North Andrews Avenue, Suite 2
                                                 Fmt Lauderdale, FL 33301
                                                 Telephone: (954) 524-2820
                                                 Facsimile: (954) 524-2822



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                                      and

                                      Cory S. Fein (Pro Hac Vice to be filed)
                                      E-mail: cory@coryfeinlaw.com
                                      CORY FEIN LAW FIRM
                                      712 Main St., #800
                                      Houston, TX 77002
                                      Telephone: (281) 254-7717
                                      Facsimile: (530) 748-0601

                                     Attorneys for Plaintiff




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  AO 440 (Rev. 06/12) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                for the
                                                     Southern District of Florida

                                                                  )
                                                                  )
      JOHN NORTHRUP, Individually and on behalf                   )
        of a Class of Similarly Situated Individuals,             )
                                Plaintiff(s)                      )
                                                                  )
                                    v.
                                                                  )
                                                                  )
            lTG INSURANCE AGENCY LLC.                             )
        INDEPENDENT TRUCKERS GROUP, AND                           )
         HALLMARK FINANCIAL SERVICES, INC.,                       )
                                                  ·---~---

                             De[endanl(s)                         )                                        ~r.
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                                                   SUMMONS IN A CIVIL ACTION                        ;!""?'                   :u
 To: (Defendant's name and address) INDEPENDENT TRUCKERS GROUP,
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                                                                                                                             ITl
                                                                                                                             (")
                                    Through Its President or other Official,
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           A lawsuit has been tiled against you.

          Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
 whose name and address are: Seth M. Lehrman, Esq.
                                  Farmer, Jaffe, Weissing,Edwards, Fistos & Lehrman, P.L.
                                  425 North Andrews Avenue, Suite 2
                                  Fort Lauderdale, Florida 33301
                                  Telephone: 954-524-2820; Facsimile: 954·524-2822


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.




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 Date: - - - - - - - - -
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   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 1 of 20 PageiD 20




                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

   JOHN NORTHRUP, Individually and on
   behalf of a Class of Similarly Situated
   Individuals,

         Plaintiff,

   v.                                                      Case No: 8:17-cv-1890-T-36JSS

   lTG INSURANCE AGENCY LLC,
   INDEPENDENT TRUCKERS GROUP,
   and HALLMARK FINANCIAL SERVICES,
   INC.,

         Defendants.


                                  RELATED CASE ORDER
                                 AND TRACK Two NOTICE

         It is hereby ORDERED that, no later than fourteen days from the date of this Order,

   counsel and any prose party shall comply with Local Rule 1.04(d), and shall file and serve

   a certification as to whether the instant action should be designated as a similar or

   successive case pursuant to Local Rule 1.04(a) or (b).        The parties shall utilize the

   attached form NOTICE OF PENDENCY OF OTHER ACTIONS.        It is

          FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is

   designated a Track Two case.          All parties must comply with the requirements

   established in Local Rule 3.05 for Track Two cases.     Counsel and any unrepresented

   party shall meet within sixty days after service of the complaint upon any defendant for

   the purpose of preparing and filing a Case Management Report. The parties shall utilize

   the attached Case Management Report form.        Unless otherwise ordered by the Court,

   a party may not seek discovery from any source before the meeting.      Fed. R. Civ. P. 26
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 20 of 44 PageID 95
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   (d); Local Rule 3.05(c)(2)(B).   Plaintiff is responsible for serving a copy of this notice and

   order with attachments upon each party no later than fourteen days after appearance of

   the party.

   August 9, 2017


                                          CJ\J.l...'-.Q."-f\R...· td.v.J Co.A.J..4-- 'HVT1St.< ;L\F,_Q_ 0
                                          Charlene Edwards Honeywell                         . I        ~
                                          United States District Judge

   Attachments: Notice of Pendency of Other Actions [mandatory form]
                Case Management Report [mandatory form]
                Magistrate Judge Consent I Letter to Counsel
                Magistrate Judge Consent Form I Entire Case
                Magistrate Judge Consent I Specified Motions

   Copies to:    All Counsel of Record
                 All Pro Se Parties
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 21 of 44 PageID 96
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 3 of 20 PageiD 22




                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

   JOHN NORTHRUP, Individually and on
   behalf of a Class of Similarly Situated
   Individuals ..

            Plaintiff,

   v.                                                          Case No: 8:17-cv-1890-T-36JSS

   lTG INSURANCE AGENCY LLC,
   INDEPENDENT TRUCKERS GROUP,
   and HALLMARK FINANCIAL SERVICES,
   INC.,

            Defendants.


                          NOTICE OF PENDENCY OF OTHER ACTIONS

            In accordance with Local Rule 1.04{d), I certify that the instant action:

   _ _ IS                 related to pending or closed civil or criminal case(s) previously filed
                          in this Court, or any other Federal or State court, or administrative
                          agency as indicated below:




   _ _ IS NOT             related to any pending or closed civil or criminal case filed with this
                          Court, or any other Federal or State court, or administrative agency.

         I further certify that I Will serve a copy of this NOTICE OF PENDENCY OF OTHER
   ACTIONS upon each party no later than fourteen days after appearance of the party.


   Dated:



   Counsel of Record or Pro Se Party
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 22 of 44 PageID 97
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 4 of 20 PageiD 23



      [Address and Telephone]
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 23 of 44 PageID 98
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 5 of 20 PageiD 24




                                                     UNITED STATES DISTRICT COURT
                                                       MIDDLE DISTRICT OF FLORIDA

                                                                            August I, 2015


           Dc<~r   Counsel:
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           of the U.S. District Judge, to conscnt to the rd'cn.'nl'l' nftmy pnrtnnt!l nfthe pmccc<ling~ inthb; case to al!.S. ~lngistrlltc
           Judge, including rcfcrcncc fur fin:tl dispositlnn.

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         Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 6 of 20 PageiD 25
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Middle District of Florida

                     JOHN NORTHRUP                                      )
                              Plaintiff                                 )
                      v.                                                )      Civil Action No.       8: 17-cv-1890-T-36JSS
        lTG INSURANCE AGENCY LLC, et al.                                )
                           Defendants                                   )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

         Consent to a magistrate judge's authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties' printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
      IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P.
73.


Date:
                                                                                            District Judge's signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
 Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 25 of 44 PageID 100
         Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 7 of 20 PageiD 26
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                    UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Middle District of Florida

                   JOHN NORTHRUP _________                             )
                            Plaintiff                                  )
                               v.                                      )       Civil Action No. 8:17-cv-1890-T-36JSS
        lTG INSURANCE AGENCY LLC, et al.                               )
                         Defendants                                    )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge's availability. A United States magistrate judge of this court is available
to conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge's consideration of a dispositive motion. The following parties consent
to have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

                Motions: _ _ _ __




          Parties' printed names                           Signatures of parties or attorneys                                Dates




                                                           Reference Order

      IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S. C. § 636(c).

Date:
                                                                                                   District Judge's signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 26 of 44 PageID 101
    Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 8 of 20 PageiD 27




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   JOHN NORTHRUP, Individually and on
   behalf of a Class of Similarly Situated
   Individuals,

            Plaintiff,

   v.                                                    Case No: 8:17-cv-1890-T-36JSS

   lTG INSURANCE AGENCY LLC,
   INDEPENDENT TRUCKERS GROUP,
   and HALLMARK FINANCIAL SERVICES,
   INC.,

            Defendants.


                                CASE MANAGEMENT REPORT

            The parties have agreed on the following dates and discovery plan pursuant

    to Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):



        DEADLINE OR EVENT                                         AGREED DATE

        Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.
        26(a)(1) as amended effective December 1, 2000)
        [Court recommends 30 days after CMR meeting]
        Certificate of Interested Persons and Corporate
        Disclosure Statement
        [Each party who has not previously filed must file
        immediately]
        Motions to Add Parties or to Amend Pleadings
        [Court recommends 1 - 2 months after CMR meeting]
        Disclosure of Expert Reports
        Plaintiff:
        Defendant:
        [Court recommends 1 - 2 months before discovery
        deadline to allow expert depositions]
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 27 of 44 PageID 102
    Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 9 of 20 PageiD 28




     DEADLINE OR EVENT                                              AGREED DATE
     Discovery Deadline
     [Court recommends 6 months before trial to allow time
     for dispositive motions to be filed and decided; all
     discovery must be commenced in time to be completed
     before this date]

     Dispositive Motions, Daubert, and Markman Motions
     [Court requires 5 months or more before trial term
     begins]
     Meeting In Person to Prepare Joint Final Pretrial
     Statement
     [14 days before Joint Final Pretrial Statement]

     Joint Final Pretrial Statement (Including a Single Set of
            Jointly-Proposed Jury Instructions and Verdict
            Form (a Word or WordPerfect® version may be e-
            mailed to the Chambers mailbox), Voir Dire
            Questions, Witness Lists, Exhibit Lists with
            Objections on Approved Form)
     [Court recommends 3 weeks before Final Pretrial
     Conference]

     All Other Motions Including Motions In Limine [Court
     recommends 3 weeks before Final Pre-trial Conference]

     Final Pretrial Conference [Court will set a date that is
     approximately 3 weeks before trial]

     Trial Briefs [Court recommends 2 weeks before Trial]

     Trial Term Begins
     [Local Rule 3.05 (c)(2)(E) sets goal of trial within 2 years
     of filing complaint in all Track Two cases; trial term must
     not be less than 4 months after dispositive motions
     deadline (unless filing of such motions is waived);
     district judge trial terms typically begin on the 151
     business day of the first full week of each month; trials
     before magistrate judges will be set on a date certain
     after consultation with the parties]

     Estimated Length of Trial    [trial days]

     Jury I Non-Jury

     Mediation
     Deadline:
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 28 of 44 PageID 103
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09117 Page 10 of 20 PageiD 29




          DEADLINE OR EVENT                                                  AGREED DATE
          Mediator:
          Address:

          Telephone:

          [Absent arbitration, mediation is mandatory; Court
          recommends either 2 - 3 months after CMR meeting, or
          just after discovery deadline]
          All Parties Consent to Proceed Before Magistrate Judge            Yes- -
                                                                             No__

                                                                            Likely to Agree in
                                                                            Future



   I.         Meeting of Parties in Person

              Lead counsel must meet in person and not by telephone absent an order permitting

   otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

   different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), 1 a meeting was held

    in person on _________                    (date)   at - - - - - - -       (time)   at _   (place)   and

   was attended by:

                                                              Counsel for (if applicable)




    II.       Pre-Discovery Initial Disclosures of Core Information

              Fed.R.Civ .P. 26(a)(1 )(A) - (D) Disclosures



                    1A  copy of the Local Rules may be viewed at
              http://www.flmd.uscourts.gov.
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 29 of 44 PageID 104
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 11 of 20 PageiD 30




           Fed.R.Civ.P. 26, as amended effective December 1, 2000, provides that these

   disclosures are mandatory in Track Two and Track Three cases, except as stipulated by

   the parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes

    Middle District of Florida Local Rule 3.05, to the extent that Rule 3.05 opts out of the

   mandatory discovery requirements):

           The parties __ have exchanged __ agree to exchange (check one)

           information described in Fed.R.Civ.P. 26(a)(1)(A)- (D)

                  on                 by(check one)                                  (date).

           Below is a description of information disclosed or scheduled for disclosure,

    including electronically stored information as further described in Section Ill below.




    Ill.   Electronic Discovery

           The parties have discussed issues relating to disclosure or discovery of

    electronically stored information ("ESI''), including Pre-Discovery Initial Disclosures of

    Core Information in Section II above, and agree that (check one):

           _     No party anticipates the disclosure or discovery of ESI in this case;

           _    One or more of the parties anticipate the disclosure or discovery of ESI in

   this case.

    If disclosure or discovery of ESI is sought by any party from another party, then the

    following issues shall be discussed: 2



                  2    See Generally: Rules Advisory Committee Notes to the 2006
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 30 of 44 PageID 105
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 12 of 20 PageiD 31




          A.    The form or forms in which ESI should be produced.




          B.    Nature and extent of the contemplated ESI disclosure and discovery,

   including specification of the topics for such discovery and the time period for which

   discovery will be sought



           C.   Whether the production of metadata is sought for any type of ESI, and if so,

   what types of metadata.



           D.   The various sources of ESI within a party's control that should be searched

   for ESI, and whether either party has relevant ESI that it contends is not reasonably

   accessible under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving

   and reviewing that information.



           E. The characteristics of the party's information systems that may contain

    relevant ESI, including, where appropriate, the identity of individuals with special

    knowledge of a party's computer systems.



           F. Any issues relating to preservation of discoverable ESI.




           Amendments to Rule 26 (f) and Rule 16.
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 31 of 44 PageID 106
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 13 of 20 PageiD 32




            G. Assertions of privilege or of protection as trial-preparation materials,

    including whether the parties can facilitate discovery by agreeing on procedures and, if

   appropriate, an Order under the Federal Rules of Evidence Rule 502.         If the parties

   agree that a protective order is needed, they shall attach a copy of the proposed order

   to the Case Management Report.        The parties should attempt to agree on protocols

   that minimize the risk of waiver.   Any protective order shall comply with Local Rule 1.09

   and Section IV. F. below on Confidentiality Agreements.



            H.   Whether the discovery of ESI should be conducted in phases, limited, or

   focused upon particular issues.



    Please state if there are any areas of disagreement on these issues and, if so,

    summarize the parties' position on each:




    If there are disputed issues specified above, or elsewhere in this report, then (check

    one):

            _One or more of the parties requests that a preliminary pre-trial conference

    under Rule 16 be scheduled to discuss these issues and explore possible resolutions.

    Although this will be a non-evidentiary hearing, if technical ESI issues are to be
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 32 of 44 PageID 107
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 14 of 20 PageiD 33




   addressed, the parties are encouraged to have their information technology experts with

   them at the hearing.

           If a preliminary pre-trial conference is requested, a motion shall also be

   filed pursuant to Rule 16(a), Fed. R. Civ. P.

          _All parties agree that a hearing is not needed at this time because they

   expect to be able to promptly resolve these disputes without assistance of the Court.



    IV.   Agreed Discovery Plan for Plaintiffs and Defendants

         A.       Certificate of Interested Persons and Corporate Disclosure
   Statement

           This Court has previously ordered each party, governmental party, intervenor,

    non-party movant, and Rule 69 garnishee to file and serve a Certificate of Interested

    Persons and Corporate Disclosure Statement using a mandatory form.           No party may

    seek discovery from any source before filing and serving a Certificate of Interested

    Persons and Corporate Disclosure Statement. A motion, memorandum, response, or

    other paper -     including emergency motion -        is subject to being denied or stricken

    unless the filing party has previously filed and served its Certificate of Interested

    Persons and Corporate Disclosure Statement. Any party who has not already filed and

    served the required certificate is required to do so immediately.

           Every party that has appeared in this action to date has filed and served a

    Certificate of Interested Persons and Corporate Disclosure Statement, which remains

    current:



               Yes
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 33 of 44 PageID 108
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 15 of 20 PageiD 34




               No                  Amended Certificate will be filed by _ _ _ _ _ _ _ __

                                   (party) on or before _ _ _ _ _ _ _ _ (date).

   B.     Discovery Not Filed -



          The parties shall not file discovery materials with the Clerk except as provided in

   Local Rule 3.03. The Court encourages the exchange of discovery requests on diskette.

   See Local Rule 3.03 (f).      The parties further agree as follows:




          C.        Limits on Discovery -



          Absent leave of Court, the parties may take no more than ten depositions per side

   (not per party).      Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31 (a)(2)(A); Local Rule 3.02(b).

   Absent leave of Court, the parties may serve no more than twenty-five interrogatories,

    including sub-parts. Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent leave of Court or

   stipulation of the parties each deposition is limited to one day of seven hours.

   Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on discovery.

   The Court will consider the parties' agreed dates, deadlines, and other limits in entering

   the scheduling order.       Fed.R.Civ.P. 29. In addition to the deadlines in the above table,

   the parties have agreed to further limit discovery as follows:

                    1.      Depositions
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 34 of 44 PageID 109
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 16 of 20 PageiD 35




                 2.      Interrogatories




                 3.      Document Requests




                 4.      Requests to Admit




                  5.     Supplementation of Discovery




           D.     Discovery Deadline -



           Each party shall timely serve discovery requests so that the rules allow for a

    response prior to the discovery deadline. The Court may deny as untimely all motions

    to compel filed after the discovery deadline.   In addition, the parties agree as follows:
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 35 of 44 PageID 110
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 17 of 20 PageiD 36




            E.     Disclosure of Expert Testimony -



            On or before the dates set forth in the above table for the disclosure of expert

   reports, the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e).         Expert

   testimony on direct examination at trial will be limited to the opinions, basis, reasons, data,

   and other information disclosed in the written expert report disclosed pursuant to this

   order.    Failure to disclose such information may result in the exclusion of all or part of the

   testimony of the expert witness. The parties agree on the following additional matters

   pertaining to the disclosure of expert testimony:




            F.     Confidentiality Agreements-

            Whether documents filed in a case may be filed under seal is a separate issue

   from whether the parties may agree that produced documents are confidential.                The

   Court is a public forum, and disfavors motions to file under seal. The Court will permit

   the parties to file documents under seal only upon a finding of extraordinary

   circumstances and particularized need.       See Brown v. Advantage Engineering, Inc., 960

    F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp., 759 F.2d 1568 (11th Cir.

    1985). A party seeking to file a document under seal must file a motion to file under seal
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 36 of 44 PageID 111
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 18 of 20 PageiD 37



   requesting such Court action, together with a memorandum of law in support.          The

   motion, whether granted or denied, will remain in the public record.



            The parties may reach their own agreement regarding the designation of materials

   as "confidential."      There is no need for the Court to endorse the confidentiality

   agreement.       The Court discourages unnecessary stipulated motions for a protective

   order.        The Court will enforce appropriate stipulated and signed confidentiality

   agreements.        See Local Rule 4.15.   Each confidentiality agreement or order shall

   provide, or shall be deemed to provide, that "no party shall file a document under seal

   without first having obtained an order granting leave to file under seal on a showing of

    particularized need." With respect to confidentiality agreements, the parties agree as

   follows:




            G.       Other Matters Regarding Discovery-
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 37 of 44 PageID 112
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 19 of 20 PageiD 38



   V.     Settlement and Alternative Dispute Resolution.

          A.         Settlement -

                     The parties agree that settlement is

                likely          unlikely                (check one)



                     The parties request a settlement conference before a United States

   Magistrate Judge.

           yes _ __ no_ _ __                       likely to request in future _ __



           B.        Arbitration -

                     The Local Rules no longer designate cases for automatic arbitration, but the

    parties may elect arbitration in any case.     Do the parties agree to arbitrate?

                         yes _ __          no _ __               likely to agree in future _ __

   _ _ _ Binding                           ____ Non-Binding



           C.        Mediation-

                     Absent arbitration or a Court order to the contrary, the parties in every case

    will participate in Court-annexed mediation as detailed in Chapter Nine of the Court's

    Local Rules. The parties have agreed on a mediator from the Court's approved list of

    mediators as set forth in the table above, and have agreed to the date stated in the table

    above as the last date for mediation. The list of mediators is available from the Clerk,

    and is posted on the Court's web site at http://www.flmd.uscourts.gov.

           D.        Other Alternative Dispute Resolution -
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 38 of 44 PageID 113
   Case 8:17-cv-01890-CEH-JSS Document 5 Filed 08/09/17 Page 20 of 20 PageiD 39




          The parties intend to pursue the following other methods of alternative dispute

   resolution:




   Date: _ _ _ _ _ _ _ _ __


   Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
   Unrepresented Parties.
Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 39 of 44 PageID 114
     Case 8:17-cv-01890-CEH-JSS Document 6 Filed 08/09/17 Page 1 of 3 PageiD 40




                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION

   JOHN NORTHRUP,

             Plaintiff,

   v.                                                                                 Case No: 8:17-cv-1890-T-36JSS

   ITG INSURANCE AGENCY LLC,
   INDEPENDENT TRUCKERS GROUP and
   HALLMARK FINANCIAL SERVICES,
   INC.,

             Defendants.


                                       INTERESTED PERSONS ORDER
                                            FOR CIVIL CASES

             This Court makes an active effort to screen every case in order to identify parties and

   interested corporations in which any assigned judge may be a shareholder, as well as for other

   matters that might require consideration of recusal.

             It is therefore ORDERED that, within fourteen days from the date of this order (or from

   the date of subsequent first appearance 1 in this action), each party, pro se party, governmental

   party, intervenor, non-patty movant, and Rule 69 garnishee shall file and serve a CERTIFICATE OF

   INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT in the following form:




             1 Every   pleading or paper filed constitutes a general appearance ofthe party unless otherwise specified. Local
    Rule 2.03 (a).
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                                    CERTIFICATE OF INTERESTED PERSONS
                                   AND CORPORATE DISCLOSURE STATEMENT



             I hereby disclose the following pursuant to this Comt' s interested persons order:

    1.)     the name of each person, attorney, association of persons, firm, law fitm, partnership,
    and corporation that has or may have an interest in the outcome of this action - including
    subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that
    own 10% or more of a party's stock, and all other identifiable legal entities related to any party
    in the case:

             [insert list]

    2.)    the name of every other entity whose publicly-traded stock, equity, or debt may be
    substantially affected by the outcome of the proceedings:


             [insert list]

    3.)    the name of every other entity which is likely to be an active participant in the
    proceedings, including the debtor and members of the creditors' committee (or twenty largest
    unsecured creditors) in bankruptcy cases:

             [insert list]

    4.)    the name of each victim (individual or corporate) of civil and criminal conduct alleged
    to be wrongful, including every person who may be entitled to restitution:


             [insett list]

            I hereby cettify that, except as disclosed above, I am unaware of any actual or potential
    conflict of interest involving the district judge and magistrate judge assigned to this case, and
    will immediately notify the Court in writing on learning of any such conflict.


    [Date]
                                                           [Counsel of Record or ProSe Party]
                                                                [Address and Telephone]
     Certificate of Service]




                                                    - 2-
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           It is FURTHER ORDERED that no party may seek discovety from any source before

   filing and serving a Certificate of Interested Persons and Corporate Disclosure Statement. A

   motion, memorandum, response, or other paper -                 including emergency motion -               may be

   denied or stricken unless the filing party has previously filed and served its Certificate of Interested

   Persons and Corporate Disclosure Statement.

           FURTHER ORDERED that each party has a continuing obligation to file and serve an

   amended Certificate of Interested Persons and Corporate Disclosure Statement within fomteen

   days of I) discovering any ground for amendment, including notice of case reassignment to a

   different judicial officer; or 2) discovering any ground for recusal or disqualification of a judicial

   officer. A party should not routinely list an assigned district judge or magistrate judge as an

   "interested person" absent some non-judicial interest.

           FURTHER ORDERED that, in order to assist the Comt in determining when a conflict

   of interest may exist, particularly when ruling on matters formally assigned to another judge, each

   party shall use the full caption of the case -   including the names of all patties and intervenors -

   on all motions, memoranda, papers, and proposed orders submitted to the Clerk. See Fed.R.Civ.P.

    IO(a); Local Rule 1.05(b) ("et al." discouraged).

   August 9, 2017


                                               L/-.Jl_.,_fL.   -7'\.A --   t,;;;t\.-.J CcA.clzc- NV~~.V_ rL<.r';_ Q
                                               Charlene Edwards Honeywell                              I         --~
                                               United States District Judge

   Copies to:      All Counsel of Record
                   All Pro Se Patties




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Case 8:17-cv-01890-CEH-JSS Document 18-1 Filed 09/28/17 Page 42 of 44 PageID 117




                   EXHIBIT B
    Case
       Case
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 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)                    TELEPHONE NUMBER                  FOR COURT USE ONLY
  Seth Lehrman SBN 132896                                                 (954) 524-2820
  Farmer Jaffe Weissing Edwards Fistos & Lehrman , P.
   425 North Andrews Avenue Suite 2
   Fort Lauderdale FL 33301                                               Ref. No. or File No .
   ATTORNEY FOR         Plaintiff                                         17-00964

 UNITED STATES DISTRICT COURT - MIDDLE DISTRICT - TAMPA
 801 No. Florida Avenue
 Tampa, FL 33602                                                                                  I
 SHORT TITLE OF CASE:                                                                             I
 Northrup, John v. Independent Truckers Group


   INVOICE NO.              DATE:                TIME:                    DEP./DIV.                   CASE NUMBER:
   1703075                                                                                            8:17-cv-01890-CEH-JSS




                                                         United States District Court

                                                           Declaration of Service



I certify that I am authorized to serve the Summons and Complaint in the within action pursuant to F.R.Civ.P 4(c) and that I
served the:




Summons and Complaint; Related Case Order and Track Two Notice; Interested Persons Order;




On: INDEPENDENT TRUCKERS GROUP



At: 15280 Addison Road , Suite 250
   Addison , TX 75001



In the above mentioned action by personally serving to and leaving with

Jane Doe/Kristin K. "Doe", only provided last initial
Gender: F AGE: 35 Height: 5'3" Weight: 120 Race: Caucasian             Hair: Blonde     Other: Has bangs

Whose title is: Vice President



On : 8/17/2017                            At: 09:44AM




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                                                           Declaration of Service
Billing Code: 17-00964
     Case
        Case
          8:17-cv-01890-CEH-JSS
             8:17-cv-01890-CEH-JSS
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  PLAINTIFF/PETITION ER:             John Northrup                                                    CASE NUMBER:
                                                                                                      8: 17-cv-01890-C EH-J SS
  DEFENDANTIRESPONDEN~               Independent Truckers Group




Person who served papers
  a. Name: Peyton Hutchinson
  b. Address : 15345 Fairfield Ranch Rd Suite 200, Chino Hills, CA 91709
  c. Telephone number 909-664-9577
  d. The fee for this service was : 170.00
  e. I am :
  (3) [X] a registered TX process server:
          (i) [X] Independent Contractor
          (ii) Registration No.:
          (iii) County : 0


   I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in
the return of service and statement of fees is true and correct.




8/17/2017

Peyton Hutchinson                                                                   >

                                                           Declaration of Service
Billing Code: 17-00964
